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                      IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT DELAWARE


In re:                                                Chapter 11


RGN-GROUP HOLDINGS, LLC, a Delaware                   Case No. 20-11961 (BLS)
limited liability company, et al.1                    (Jointly Administered)


                 Debtors.                             Docket Ref. Nos. 14 & 4


   ORDER (I) DIRECTING JOINT ADMINISTRATION AND (II) AUTHORIZING THE
               FILING OF A CONSOLIDATED CREDITOR MATRIX

         Upon the motion [Case No. 20-11894; D.I. 14] (the “Motion”) 2 and the joinder [Case No.

20-11961; D.I. 4] (the “Joinder”) filed by the above-captioned Debtors for entry of an order

under section 105(a) of the Bankruptcy Code, Bankruptcy Rules 1001, 1007, and 1015, and

Local Rules 1001-1(c) and 1015-1 authorizing (i) the joint administration of the Debtors’ chapter

11 cases for procedural purposes only and (ii) the filing of a consolidated creditor matrix in lieu

of separate mailing matrices for each Debtor; and it appearing that (i) the Court has jurisdiction

over these chapter 11 cases and the Motion under 28 U.S.C. §§ 1334(b) and 157, and the Order

of Reference, (ii) venue of these chapter 11 cases and the Motion in this Court is proper under

28 U.S.C. §§ 1408 and 1409, (iii) the Motion is a core proceeding pursuant to 28 U.S.C.

§ 157(b)(2), and the Court may enter a final order consistent with Article III of the United States


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      The Debtors in these chapter 11 cases, together with the last four digits of each Debtor’s
Federal Employer Identification Numbers (“FEIN”), where applicable are as follows: RGN-
Group Holdings, LLC, RGN-National Business Centers, LLC (7723), H Work, LLC (4516),
RGN-Columbus IV, LLC, RGN-Chapel Hill II, LLC, RGN-Chicago XVI, LLC, and RGN-Fort
Lauderdale III, LLC. The aforementioned Debtors that do not include a FEIN are disregarded
entities for tax purposes and do not have FEINs. The mailing address for the Debtors is 3000
Kellway Drive, Suite 140, Carrollton, Texas 75006 (Attn: James S. Feltman, Responsible
Officer).
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    Capitalized terms not otherwise defined herein have the meanings ascribed to them in the
Motion.
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Constitution, and (iv) notice of the Motion and Joinder was adequate and proper under the

circumstances, and no other or further notice need be given; and the Court having held a hearing

to consider the relief requested in the Motion and the Joinder; and upon the record of the hearing

and all of the proceedings had before this Court; and it appearing that the relief requested in the

Motion and the Joinder is in the best interests of the Debtors, their estates, their creditors, and all

other parties in interest, and that the legal and factual bases set forth in the Motion and the

Joinder establish just cause for the relief granted herein; and after due deliberation and sufficient

cause appearing therefor, it is hereby ORDERED THAT:

         1.     The Motion and the Joinder are GRANTED, as set forth herein.

         2.     All objections to the entry of this Order, to the extent not withdrawn or settled, are

overruled.

         3.     The above-captioned cases are consolidated for procedural purposes only and

shall be administered jointly under Case No. 20-11961 (BLS) in accordance with the provisions

of Bankruptcy Rule 1015 and Local Rule 1015-1.

         4.     The caption of pleadings and other documents filed in the jointly administered

cases shall read as follows:


In re:                                                  Chapter 11


RGN-GROUP HOLDINGS, LLC, a Delaware                     Case No. 20-11961 (BLS)
limited liability company, et al.,1                     (Jointly Administered)


               Debtors.


    The Debtors in these chapter 11 cases, together with the last four digits of each Debtor’s
    1

Federal Employer Identification Numbers (“FEIN”), where applicable are as follows: RGN-
Group Holdings, LLC, RGN-National Business Centers, LLC (7723), H Work, LLC (4516),
RGN-Columbus IV, LLC, RGN-Chapel Hill II, LLC, RGN-Chicago XVI, LLC, and RGN-Fort



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Lauderdale III, LLC. The aforementioned Debtors that do not include a FEIN are disregarded
entities for tax purposes and do not have FEINs. The mailing address for the Debtors is 3000
Kellway Drive, Suite 140, Carrollton, Texas 75006 (Attn: James S. Feltman, Officer).

         5.    The caption set forth above shall be deemed to satisfy any applicable

requirements of section 342(c) of the Bankruptcy Code and Bankruptcy Rule 2002(n).

         6.    All pleadings and other documents to be filed in the jointly administered cases

shall be filed and docketed in the case of RGN-GROUP HOLDINGS, LLC, Case No. 20-11961

(BLS).

         7.    A docket entry shall be made in the chapter 11 cases of the Debtors other than

RGN-GROUP HOLDINGS, LLC substantially as follows:

               An order has been entered in this case consolidating this case with
               the case of RGN-GROUP HOLDINGS, LLC, Case No. 20-11961
               (BLS), for procedural purposes only and providing for its joint
               administration in accordance with the terms thereof. The docket in
               Case No. 20-11961 (BLS) should be consulted for all matters
               affecting this case.

         8.    Any creditor filing a proof of claim against any of the Debtors shall clearly assert

such claim against the particular Debtor obligated on such claim and not against the jointly

administered Debtors, except as otherwise provided in any other order of this Court.

         9.    The Debtors are authorized to file a consolidated Creditor Matrix; however, for

the avoidance of doubt, this Order does not otherwise modify the Debtors’ reporting obligations.

         10.   The procedural relief requested in the Motion and the Joinder and granted by this

Order is for administrative purposes only, and nothing contained in the Motion, the Joinder, or

this Order shall be deemed or construed as directing or otherwise effecting the substantive

consolidation of the Debtors or their estates.

         11.   This Order shall take effect immediately upon entry.




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       12.     The Court retains exclusive jurisdiction with respect to all matters arising from or

related to the implantation, interpretation, and enforcement of this Order.




Dated: August 20th, 2020 Wilmington,     BRENDAN L. SHANNON UNITED STATES BANKRUPTCY
Delaware                                 JUDGE




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